Case 2:03-CV-02874-BBD-tmp Document 155 Filed 05/31/05 Page 1 of 3 Page|D 170

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IN TH_E uNlTED STATES DlSTRlCT COURT 79 "' " ` 99

FOR THE WESTERN DISTRICT OF TENNESSEE 95 am 3 ;
WESTERN DIVISION

LUTRICIA BARNETT BUCKLEY, as
Administratrix of the Estate Of DENVEY
BUCKLEY, for the use and benefit of
KATRINA and LATRICE BUCKLEY, as
Next 019 Kin and Heirs at law Of DENVEY
BUCKLEY, deceased

Plaintiffs,

Civil Aetion
No. 03-2874-DP

CITY OF MEMPHIS, THE CITY OF MEMPHIS
POLICE DIVISION, OFFICER PHILLIP PENNY,
OFFICER KURTIS SCHILK, OFFICER ROBERT
G. TEBBETTS, individually and in their
RepresentativeCapacitieS as City Of Mernphis
Poliee Division Off`lcers,

\,d\_/\_/~_J\_/\_/\_/\_/\_/\-_/\_/\_/\_MVW\_/\_/\_/~_/\_/

Defend ants.

 

ORDER GRANTING UNOPPOSED JOINT MOTION OF DEFENDANT CITY OF
MEMPHIS AND DEFENDANT OFFICERS TO EXTEND THE DEADLINE TO
RESPOND TO PLAINTIFF’S MOTIONS TO COMPEL

 

lt appearing to the Court, the Unopposed Joint Motion of Defendant City of Memphis and
Defendant Offi eers to Extend the Deadline to R.espond to Plaintiff' S Motions to Compel is Well taken, and
is GRANTED. For eause, the deadline for Defendant City efMernphis and Defendant Ot`Heers Phillip
Penny, Kurtis Sehilk and Robert Tebbetts to respond to PIaintiffJ 5 Motion to Compel Testimony and

Doeum ents Coneeming Early lntervention Pro gram and Anger Management Referral ofDefendant Sehjlk,

Thfs document entered on the docket sheet |n cgmpliance /_\
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Case 2:03-CV-02874-BBD-tmp Document 155 Filed 05/31/05 Page 2 of 3 Page|D 171

and the deadline for Def"endant City Ot`l\/lemplns to respond to Plaintl`fl` S l\/lotion to C01npel Production
oflndividuals with Knewledge Concerning Prior lncidents 01"ln-Cust0dy Deaths and l\/lotien to Colnpel
Det`endant City ofl\/lemphis te Designate a Representative for Deposition Regarding the l\/lernphis Poliee

Department’s Poliey and Proeedure Manua|, are extended to l\/Iay 31, 2005.

 

DITRICT OURT WESTENR DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 155 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

